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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION - CINCINNATI

BOLLIMUNTA SREENIVASA,                   :         Case No. 1:20-cv-451
                                         :
             Plaintiff,                  :         Judge Matthew W. McFarland
                                         :
 vs.                                     :
                                         :
SIEMENS,                                 :
                                         :
             Defendant.                  :


       ORDER ADOPTING REPORT AND RECOMMENDATION (DOC. 16)


       The Court has reviewed the Report and Recommendation (Doc. 16) of United

States Magistrate Judge Karen L. Litkovitz, to whom this case is referred pursuant to 28

U.S.C. § 636(b). As no objection to the Report and Recommendation has been filed and

the time to do so has expired, the Court ADOPTS the Report and Recommendation in its

entirety. Accordingly, Plaintiff’s motion to withdraw (Doc. 15), construed as a motion to

voluntarily dismiss under Fed. R. Civ. P. 41(a)(2), is GRANTED and this case is

DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED.

                                                   UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF OHIO

                                             By:
                                                   MATTHEW W. McFARLAND
                                                   UNITED STATES DISTRICT JUDGE
